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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 ALEXANDRA ASUNCION REGINO,

                                   Plaintiff,                        No. 20-CV-8518
                       -against-                             ORDER OF SERVICE AND
                                                              SCHEDULING ORDER
 COMMISSIONER OF SOCIAL SECURITY,

                                   Defendant.

RONNIE ABRAMS, United States District Judge:

       The Clerk of Court shall notify the U.S. Attorney’s Office for the Southern District of

New York of the filing of this pro se case, brought under 42 U.S.C. § 405(g), for which the filing

fee has been waived.

       In accordance with the Standing Order “Motions for Judgment on the Pleadings in Social

Security Cases,” 16-MC-0171 (Apr. 20, 2016):

       Within 90 days of the date of this order, the Commissioner must serve and file the

Electronic Certified Administrative Record (e-CAR), which will constitute the Commissioner’s

answer, or otherwise move against the complaint.

       If the Commissioner wishes to file a motion for judgment on the pleadings, the

Commissioner must do so within 60 days of the date on which the e-CAR was filed. The motion

must contain a full recitation of the relevant facts and a full description of the underlying

administrative proceeding.

       Plaintiff must file an answering brief within 60 days of the filing of the Commissioner’s

motion. The Commissioner may file a reply within 21 days thereafter.

       Memoranda in support of or in opposition to any dispositive motion may not exceed 25

pages in length; reply memoranda may not exceed ten pages in length. A party seeking to exceed
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these page limitations must apply to the Court for leave to do so, with copies to all counsel, no

fewer than seven days before the date on which the memorandum is due.

       The Clerk of Court is respectfully directed to mail a copy of this Order to Plaintiff.


SO ORDERED.

 Dated:   January 11, 2021
          New York, New York

                                                                RONNIE ABRAMS
                                                             United States District Judge




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